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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


     DONNA ALLISON,                                      Civil Action
     Individually and as a representative of a           No: 2:20-cv-06018-EAS-CMV
     class of similarly situated persons, on
     behalf of the L BRANDS, INC. 401(K)
     SAVINGS AND RETIREMENT PLAN,

                    Plaintiff,
              v.

     L BRANDS, INC., L BRANDS SERVICE
     COMPANY, LLC, THE RETIREMENT PLAN
     COMMITTEE OF THE L BRANDS, INC.
     401(K) SAVINGS AND RETIREMENT PLAN,
     and DOES No. 1–10,
     Whose Names Are Currently Unknown,

                    Defendants.                          August 11, 2022


                       PLAINTIFF’S UNOPPOSED MOTION FOR
               PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

           Plaintiff, Donna Allison, on behalf of the proposed Settlement Class and the L Brands,

    Inc. 401(k) Savings and Retirement Plan (the “Plan”), hereby moves (the “Motion”) pursuant to

    Federal Rule of Civil Procedure 23 and Local Civil Rule 7.11 for entry of an Order that: (1)

    preliminarily approves the Settlement Agreement dated August 11, 2022 with Defendants, L

    Brands, Inc., L Brands Service Company LLC, and the Retirement Plan Committee of the L

    Brands, Inc. 401(k) Savings and Retirement Plan; 2 (2) preliminarily certifies the proposed

    Settlement Class; (3) approves the proposed notice plan (“Notice Plan”) in the Settlement


1
    Plaintiff has conferred with Defendants, and Defendants do not oppose the Motion.
2
 The Settlement Agreement and its exhibits are attached to the accompanying Declaration of Alec
Berin. Terms not defined herein shall have the same meaning as in the Settlement Agreement.
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Agreement and proposed Preliminary Approval Order; and (4) sets a final approval hearing on a

date convenient for the Court at least one hundred twenty (120) calendar days after the entry of a

preliminary approval order. A proposed Preliminary Approval Order is attached as Exhibit D

to the Settlement Agreement.

        For the reasons set forth in the Settlement Agreement, accompanying memorandum of

law, and all supporting papers, as well as the record in this litigation, Plaintiff respectfully

submits that the proposed settlement memorialized in the Settlement Agreement (the

“Settlement”) is fair, reasonable, and adequate, and should be preliminarily approved so that

notice can be provided to the Settlement Class.

        The Settlement is the product of arm’s-length negotiations between the parties and their

counsel, all of whom comprehensively litigated this matter, are well-informed regarding all the

issues in this litigation, and have significant experience in complex litigation of this type.

Accordingly, Plaintiff respectfully requests that the Court enter the proposed Preliminary

Approval Order and, if the Court deems necessary, schedule a preliminary approval hearing at

its earliest convenience.

        Plaintiff stands ready to provide any additional information that the Court may require in

connection with its consideration of the Motion.

DATED: August 11, 2022                                  Respectfully submitted,

                                                        /s/ Jeffrey S. Goldenberg
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                                           Proposed Settlement Class




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                CERTIFICATE OF COMPLIANCE WITH WORD COUNT
       I certify that this Memorandum complies with the page and type requirements under

Local Rule 7.2(a)(3) because it is less than 20 pages double-spaced.

                                                     /s/ Jeffrey S. Goldenberg
                                                     Jeffrey S. Goldenberg
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 11, 2022, I electronically filed the foregoing Plaintiffs’

Motion for Preliminary Approval of Class Action Settlement with the Clerk of Court, and upon

the counsel of record using the CM/ECF system.

                                                      /s/ Jeffrey S. Goldenberg
                                                      Jeffrey S. Goldenberg
